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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


 IN RE:

 APPLICATION OF OLGA KURBATOVA                         Case No. ____________
 FOR AN ORDER UNDER 28 U.S.C. §
 1782 TO TAKE DISCOVERY FROM
 LYXOR ASSET MANAGEMENT INC.
 AND ELLIOT DANILOFF



                                     [PROPOSED] ORDER

       Upon consideration of the Ex Parte Application And Petition For An Order Under 28

U.S.C. § 1782 To Take Discovery From Lyxor Asset Management Inc. and Elliot Daniloff (the

“Application”), submitted by Olga Kurbatova (“Applicant”), and all papers submitted in

support thereof, this Court finds that (1) the statutory requirements of 28 U.S.C. § 1782 are

satisfied, and (2) the factors identified by the United States Supreme Court in Intel Corp. v.

Advanced Micro Devices, Inc., 542 U.S. 241 (2004), weigh in favor of granting the Application.

       It is therefore ORDERED that

   (1) the Application is granted;

   (2) Applicant is authorized to serve the subpoena annexed as Exhibit 1 to the declaration

       of Jonathan Cogan upon Lyxor Asset Management Inc.;

   (3) Applicant is authorized to serve the subpoena annexed as Exhibit 2 to the declaration

       of Jonathan Cogan upon Elliot Daniloff; and

   (4) Lyxor Asset Management Inc. and Elliot Daniloff are directed to respond to such

       subpoenas pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules

       of this Court.

SO ORDERED
Date: ____________________, 2018
______________________________
United States District Judge
